Case 1:21-cr-00208-APM Document 27-2 . Filed 06/28/21 Page 1 of 2

EXHIBIT “Q”
Case 1:21-cr-00208-APM Document 27-2 Filed 06/28/21 Page 2 of 2

Ree B7 997-217

* 113.012
_ Issued 2-17-2012
- Expires Orange County

LICENSE TO CARRY PISTOL iS HE
THOMAS WEBSTER‘.

 

Ocean RETIRED POLICE OFFICER
Employer , eg maa
Nationality American” “Set

nT Gy vnzgp

  
 

Judge Jeffrey G. Berry

County Court Orange County

THIS LICENSE IS ISSUED WITH THE FOLLOWING CONDITIONS;

_ 1. Itis revocable at anytime. 2. If issued outside New York City, . °

‘Not valid to carry a weapon in.New York City unless approved by |
the police commissioner of that city. "2° 4

¢ a tein
TE i ele!

 
    

   
      

al.

 

|
|
!

 

Saw | 9MM 5946

2
g
LJ

Yt

(Signature of Holder}

 

Qe. eeeP a

 

STATE OF NEW YORK

REBY GRANTED

at FS
